Case 5:21-cv-00077-RWS Document 209 Filed 10/03/23 Page 1 of 3 PageID #: 6170




                               UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF TEXAS
                                   TEXARKANA DIVISION

 CATHX RESEARCH LTD.,                                §
                                                     §
                           Plaintiff,                §
                                                     §
          v.                                         §    Case No. 5:21-cv-00077-RWS
                                                     §
 2G ROBOTICS INC. a/k/a VOYIS                        §
 IMAGING, INC.,                                      §
                                                     §
                           Defendant.                §

                              DEFENDANT VOYIS IMAGING, INC.’S
                               REBUTTAL TRIAL WITNESS LIST


         Pursuant to the Seventh Amended Docket Control Order (Dkt. 202), Defendant, Voyis

Imaging, Inc. (“Voyis”), hereby files this Rebuttal Trial Witness List of rebuttal trial witnesses

that it will, or may, call in rebuttal to Plaintiff Cathx Research Ltd. (“Cathx”) presentation of

evidence at trial:

              All individuals identified on Voyis’ Trial Witness List (Dkt. 207).

              Voyis also reserves the right to call any witness identified by Cathx, including those
               witnesses on Cathx’s Trial Witness List (Dkt. 206) or on any rebuttal trial witness list
               of Cathx.

         Voyis makes this identification without waving any right to object to Cathx’s

presentation of Cathx’s witnesses at trial, any objections to the admissibility of any such

testimony, and the right to move for the exclusion of any testimony by Cathx’s witnesses. Voyis

also reserves the right to supplement or otherwise modify this list prior to the commencement of

trial.




                                                    1
Case 5:21-cv-00077-RWS Document 209 Filed 10/03/23 Page 2 of 3 PageID #: 6171




October 3, 2023                       Respectfully submitted,

                                By:   BENESCH, FRIEDLANDER, COPLAN
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                                       2
Case 5:21-cv-00077-RWS Document 209 Filed 10/03/23 Page 3 of 3 PageID #: 6172




                                 CERTIFICATE OF SERVICE

        I, William T. Nilsson, an attorney of record in this matter, hereby certify that on October
3, 2023, I served the following document via the Court’s CM/ECF system on all counsel of
record:

                   DEFENDANT’S REBUTTAL TRIAL WITNESS LIST


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                                               /s/ William T. Nilsson
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